               Case 4:15-cr-00122-DLH             Document 467            Filed 09/26/16       Page 1 of 1




                               81,7('67$7(6',675,&7&2857
                                                          IRUWKH
                                                 'LVWULFWRI1RUWK'DNRWD

               8QLWHG6WDWHVRI$PHULFD
                          Y                                        &DVH1R 4:15-cr-122
                   James Alex Locklear



                                                ORDER SCHEDULING
                                                DETENTION HEARING

        $KHDULQJLQWKLVFDVHLVVFKHGXOHGDVIROORZV

Type: 'HWHQWLRQ+HDULQJ                                       Date and Time: September 26, 2016, at 3:30 p.m.


Place: 86)HGHUDO&RXUWKRXVH                                Courtroom No.:
         Bismarck, ND                                                   Bismarck Courtroom 2

        IT IS ORDERED:3HQGLQJWKHKHDULQJWKHGHIHQGDQWLVWREHGHWDLQHGLQWKHFXVWRG\RIWKH8QLWHG6WDWHV
PDUVKDORUDQ\RWKHUDXWKRUL]HGRIILFHU7KHFXVWRGLDQPXVWEULQJWKHGHIHQGDQWWRWKHKHDULQJDWWKHWLPHGDWHDQG
SODFHVHWIRUWKDERYH


Defense counsel will be appearing via video from US Courthouse in Grand Forks.




             09/26/2016                                                     /s/ Charles S. Miller, Jr.
'DWH
                                                                                      Judge’s signature


                                                                          Charles S. Miller, Jr., Magistrate Judge
                                                                                    Printed name and title
